                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


DEBBIE HOLMES,                                 )
                                               )
          Plaintiff,                           )
                                               )
v.                                             )
                                               )                      Case No. ________________
HENRY LEGAL GROUP, LLP                         )
and                                            )
HEARTLAND LEGAL GROUP, LLC                     )
                                               )
          Defendants.                          )

                                   PLAINTIFF’S COMPLAINT

          COMES NOW the Plaintiff, Debbie Holmes, and for her Complaint against Defendant

Henry Legal Group, LLP (hereinafter “Henry”) and Heartland Legal Group, LLC (“Heartland”),

and alleges:

                                  PRELIMINARY STATEMENT

          1.      This case arises from Defendants “Henry” and “Heartland” using their status as a

law firm to take unfair advantage of a desperate consumer with the singular goal of lining the law

firm’s pockets rather than helping Ms. Holmes.

          2.      Defendant, Heartland contacted Plaintiff about credit problems she was having and

offered assistance in getting her debt reduced and in repairing her credit. Plaintiff is of limited

means, lives on a fixed income, and viewed Heartland’s promise of debt reduction and credit repair

as an avenue to escaping the debt problems that plagued her and a way to have better credit in the

future.

          3.      Heartland’s status as a law firm and commitment to pair Plaintiff with an attorney

to assist in the process of reducing her debt provided additional credibility, as Plaintiff reasonably



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believed that Heartland would treat her as lawyers are bound to treat their clients—with the client’s

interests being paramount.

        4.       Plaintiff misplaced her trust in Heartland and unknowingly Heartland’s alter ego

Henry, as it entered into an agreement with Plaintiff that placed Heartland’s profitability above

Plaintiff’s interests, extracted unreasonable legal fees from Plaintiff, failed to adequately inform

Plaintiff, and purported to have Plaintiff waive important rights should she attempt to seek redress

before courts like this one.

        5.       In short, Plaintiff placed her trust in Heartland which, as a law firm has heightened

responsibilities to ensure its clients’ goals are met, expectations are clearly communicated, and

operations are carried out with the client’s best interests at the forefront. Heartland failed Plaintiff

on all counts.

        6.       Plaintiff brings claims against Heartland for breach of fiduciary duty for its failure

to place Plaintiff’s interests above Heartland’s. Heartland failed to reasonably tie the fee it charged

Plaintiff to the relief it obtained, did not provide mandated disclosures, and duped Plaintiff into an

agreement that purports to have Plaintiff waive valuable rights without adequately explaining to

her the impact of such an agreement.

        7.       As an entity engaged in credit repair, Heartland violated the federal Credit Repair

Organizations Act by not providing the required disclosures, and by not providing the mandatory

three day right to cancel.

        8.       Plaintiff also brings claims for legal malpractice against Heartland. Heartland took

Plaintiff as a client and committed to reducing her debt, yet it did not. In failing to reduce Plaintiff’s

debt, Heartland obtained significant payments from Plaintiff without taking the steps necessary to

reduce her debts.




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        9.      Plaintiff also asserts claims under Tennessee’s Consumer Protection Act, as

Heartland made multiple representations as an attorney and debt-reducer that were not true.

Heartland made such representations with the knowledge they were not true, and made them with

the intent that Plaintiff rely on them.

        10.     Plaintiff did so rely, causing her to inter into an agreement with Heartland that was

not as it was purported by Heartland to be.

                                              PARTIES

        11.     Plaintiff is an individual and resident of this District and Division. She is a

“consumer” as defined by the Tennessee Consumer Protection Act.

        12.     Defendant Heartland is a foreign entity organized under the laws of the State of

Michigan. Defendant does business in this District and Division by courting consumers like

Plaintiff to engage Heartland’s services. Defendant Heartland has a principle place of business at

41000 Woodward Avenue, Ste. 350, Bloomfield Hills, MI 48304. Heartland is an assumed name,

registered with the State of Michigan, and is in reality the same entity as Defendant Henry Legal

Group, LLP.

        13.     Defendant Henry is a foreign entity organized under the laws of the State of

Michigan. Defendant does business in this District and Division by courting consumers like

Plaintiff to engage Heartland’s services. Defendant Henry has a principle place of business at

41000 Woodward Avenue, Ste. 350, Bloomfield Hills, MI 48304 and may be served with process

via registered agent Dennis Williamson at 100 Dekewood Dr., Old Hickory, TN 37138-2162.

                                      JURISDICTION AND VENUE

        14.     This Court has federal question jurisdiction under 28 U.S.C. § 1331. The Court has

supplemental jurisdiction for Plaintiff’s state law claims under 28 U.S.C. § 1367.




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       15.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) as a substantial part of

the events or omissions from which Plaintiff’s claims arose occurred in this District and Division.

                                              FACTS

       16.      On or about October 2, 2019 Plaintiff received an unsolicited call to her cellphone

from a person known only to Plaintiff as “Steven” who stated he was with Heartland Legal Group.

       17.      The representative said they were calling Plaintiff to “try to help you get out of

credit card debt”.

       18.      Plaintiff mentioned that she was “getting eaten up” on interest payments to which

the Heartland representative responded: “We can get you out of debt in three and a half years”.

       19.      Plaintiff’s only source of income is her Social Security Disability check in the

amount of approximately $1398.00 per month.

       20.      The representative then told Ms. Holmes that she would have to speak to an attorney

about the details and this would occur in about three days.

       21.      Ms. Holmes was excited to get out of debt in three years and agreed to speak with

the attorney.

       22.      About three days later, a person who identified himself as an attorney from

Heartland Legal Group called Ms. Holmes.

       23.      He also promised that Heartland could get Ms. Holmes out of debt in three and a

half years.

       24.      Most importantly, he specifically assured her that, although her credit scores would

go down at first, that when she was through the program she would have excellent credit scores,

“the best credit score” of anybody around.

       25.      Plaintiff was excited to get out of debt and excited about improving her credit score.




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        26.     Plaintiff relied on Defendant’s representation about her credit score and getting out

of debt in making her decision to agree to retain Heartland.

        27.     The Heartland representative went on to say that he would send a woman to

Plaintiff’s house with some papers for her to sign.

        28.     This alleged lawyer never mentioned the word “arbitration” to Ms. Holmes, and

never explained that the Heartland retainer would seek to have Ms. Holmes waive her valuable

constitutional right as an American citizen to be protected by the American civil justice system.

        29.     This alleged lawyer also never explained that the Heartland program would require

Ms. Holmes to sign a contract with a third-party that would similarly seek to have Ms. Holmes

waive her valuable constitutional right as an American citizen to be protected by the American

civil justice system.

        30.     Heartland at all times expected to have Ms. Holmes sign a series of documents that

would seek to waive her valuable constitutional right as an American citizen to be protected by the

American civil justice system.

        31.     Heartland at all times knew that asking a client to agree to waive her valuable

constitutional right as an American citizen to be protected by the American civil justice system is

a material fact that it should disclose to a client.

        32.     As a legal firm, before Heartland asks a client to sign a document that waives her

valuable constitutional right as an American citizen to be protected by the American civil justice

system, Heartland is obligated to explain to the client the legal consequences of what it is asking

the client to sign.




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       33.     In the two phone calls with Ms. Holmes, Heartland intentionally concealed that it

would ask Ms. Holmes to sign two separate contracts that each would waive her valuable

constitutional right as an American citizen to be protected by the American civil justice system.

       34.     After the second call, Heartland sent a mobile notary by the name of Barbara Borel

to bring documents for Ms. Holmes to sign.

       35.     When Borel met with Plaintiff at Ms. Holmes residence on October 9, 2019,

Holmes questioned her about a charge of approximately $6,000.00 reflected in the documents.

       36.     As a mobile notary, Ms. Borel was unable to explain the charges in the documents.

       37.     As a mobile notary, Ms. Borel was prohibited from providing legal advice to Ms.

Holmes about the documents.

       38.     Ms. Borel called the Heartland representative, “Steven”, but he also could not

explain charges.

       39.     Ultimately, based on the promise from Heartland that she would be out of debt in

three and a half years and have the “best credit score” of anybody, Ms. Holmes agreed to sign

every place that Ms. Borel told her to sign.

       40.     The documents did not include any three day right to cancel.

       41.     The documents did not include the disclosures set forth in 15 U.S.C. § 1679c.

       42.     The documents did include two different arbitration agreements that each purported

to waive her valuable constitutional right as an American citizen to be protected by the American

civil justice system.

       43.     One of the arbitration agreements is in a contract that signs Ms. Holmes up for an

account with Global Client Solutions, LLC, and required her to give that entity automatic

electronic access to her bank account.




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       44.     The other arbitration agreement is in the retainer with Heartland.

       45.     The arbitration agreement in the retainer with Heartland is unenforceable because

it contains an unenforceable provision that limits Ms. Holmes’ federal and state statutory rights.

       46.     That unenforceable provision also infects the delegation clause in the arbitration

agreement such that the delegation clause is unenforceable.

       47.     Ms. Borel never mentioned the word “arbitration” to Ms. Holmes.

       48.     Ms. Borel never explained that the documents would seek to waive Ms. Holmes’s

valuable constitutional right as an American citizen to be protected by the American civil justice

system.

       49.     Ms. Borel also presented a document that falsely stated that Ms. Borel had

thoroughly reviewed and explained the retainer agreement and answered any questions about it.

       50.     This false document also implies that a Face to Face Script was presented and a

Face to Face Power Point presentation occurred. Neither did.

       51.     After signing all the documents she was asked to sign, Ms. Holmes looked forward

to becoming debt free and began to send the money as agreed.

       52.     Specifically, the retainer documents stated Heartland would work on resolving six

debts, four with brand name credit cards through Synchrony Bank, one with Discovery, and one

Haband card.

       53.     These were the only debts that Heartland was authorized to work on resolving.

       54.     Plaintiff began having concerns as early as December, 2019 when she called JC

Penney to find out why she had not received her JC Penney bill for that month and was told that

the account had been turned over to Heartland at its request.

       55.     Consequently, JC Penney did not send a bill and treated the account as in default.




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           56.   Plaintiff never agreed to turn over control of the JC Penney account to Heartland.

           57.   Plaintiff later discovered that Heartland had also taken control of a Sears account.

           58.   These events caused Plaintiff to start questioning what Heartland was really doing

for her.

           59.   On or about the 1st of June, 2020, Plaintiff, concerned that she could not get a clear

answers from Heartland about how her payments were being applied to pay off her debts, again

called Heartland for an explanation.

           60.   When Plaintiff questioned why her credit card debts were not being paid off as she

had been promised, the Heartland representative informed Plaintiff that she had not gotten to the

“window” for that and that she would not for at least another year.

           61.   This meant that all the credit card accounts had been put in default for lack of

payment and that the creditors had placed the accounts for collection.

           62.   This caused Plaintiff great concern and anguish. When Ms. Holmes told the

Heartland representative that her creditors had turned the debts over to collection agencies, the

Defendant’s representative merely admonished Plaintiff that “they will say anything to get you to

pay”.

           63.   Plaintiff also received communication from Discover card that Discover is

threatening legal action if Plaintiff does not pay the balance due on the Discover account.

           64.   When Plaintiff questioned a Heartland representative about this, Plaintiff was told

not to talk to or communicate with her creditors.

           65.   On multiple occasions Plaintiff asked Heartland to send her something in writing

showing how her payments were being applied to reduce her credit card debt. Heartland never




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complied with Plaintiff’s requests and refused to send her any documentation about the application

of Plaintiff’s payments to her debts.

         66.   On or about June 1st, 2020 Plaintiff went to Reliant Bank in Clarksville, TN and

signed papers to stop Heartland’s payment processor, Global Client Solutions, from making

automated withdrawals from her account.

         67.   Plaintiff paid approximately $26 to Reliant Bank for the stop payment on her

account.

         68.   Despite this, on June 19, 2020, money was again withdrawn on by Global Solutions.

         69.   Plaintiff went back to Reliant Bank and signed and paid for a second stop payment

order to prevent Defendant’s agent, Global Client Solutions, from withdrawing money from

Plaintiff’s account.

         70.   Because of the arbitration agreement in the contract with Global Client Solutions,

Plaintiff is prohibited from bringing her claims against it in a court of law regarding its unlawful

automatic withdrawal after permission was revoked.

         71.   Plaintiff, between October 9, 2019 and July, 2020 paid approximately $3,000 to

Heartland Legal Group.

         72.   The unauthorized withdrawal of funds from Plaintiff’s bank account on June 19,

2020 left Plaintiff overdrawn and caused Plaintiff to be charged overdraft fees of approximately

$165.

         73.   Defendant’s continued withdrawal of funds from Plaintiff’s bank account resulted

in Plaintiff having to borrow approximately $400 from a family friend in order to be able to pay

for food and other necessities.




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          74.   On information and belief, Plaintiff’s credit score, before entering into the

agreement with Defendant, Heartland Legal Group, was between 707 and 765.

          75.   On information and belief, Plaintiff’s credit score is now approximately 539.

          76.   Plaintiff was not informed of the extreme drop in credit score that could occur

before entering into the agreement with Heartland.

          77.   Plaintiff would not have entered into the agreement had she been made aware that

it would result in such a drastic decrease in her credit score.

          78.   When Plaintiff applied for a home equity line of credit in early 2020, she was denied

because her credit score was too low.

          79.   Plaintiff has suffered extreme emotional distress as a result of Defendant’s actions,

including loss of sleep, mental anguish and suicidal thoughts, because as Plaintiff has stated, she

“feels ruined” over what has happened.

          80.   Plaintiff has suffered emotional distress because her family does not understand

why she entered into the agreement with Heartland and they think less of her because of this.

          81.   Plaintiff suffers from anxiety as the result of the unauthorized withdrawals by

Heartland’s payment processor, Global Client Solutions, LLC and fears they will attempt to

withdraw money in the future against her will.

                                      CAUSES OF ACTION

     COUNT 1 – VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT

          82.   Plaintiff incorporates by reference all prior paragraphs as though set forth fully

herein.

          83.   Heartland represented to Plaintiff that it would improve Plaintiff’s credit record,

credit history, and credit rating.




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         84.   Heartland further committed to Plaintiff that it would provide her advice and

counsel that would improve her credit record, credit history, and credit rating.

         85.   These representations qualify Heartland as a “credit repair organization” as that

term is defined in CROA.

         86.   Despite contracting with Plaintiff to assist with credit repair, Heartland did nothing

to even attempt to reduce Plaintiff’s unsecured debt.

         87.   Heartland’s contract further violates CROA in that it fails to provide consumers

like Plaintiff with three days in which to cancel the contract without penalty. 15 U.S.C. § 1679d.

         88.    Though Heartland committed to improving Plaintiff’s credit record, credit history,

and credit rating, Heartland did virtually nothing. Heartland took money from Plaintiff but did

nothing to improve her credit.

         89.   Heartland’s statements about improving Plaintiff’s credit record, credit history, or

credit rating were misleading in that Heartland’s real motivation for representing Plaintiff was to

earn improper fees for doing nothing. 15 U.S.C. § 1679d.

         90.   Heartland also violated CROA in that it demanded and obtained payments from

Plaintiff’s bank account before the three day right to cancel could even start to run. 15 U.S.C. §

1679d.

         91.   As a result of Heartland’s deception and violations of CROA, Plaintiff suffered

actual damages including, by way of example only, paying Heartland attorneys’ fees for work not

accomplished, paying attorneys’ fees that were not reasonable, being locked into a contract without

the right to cancel in writing, and the failure of Heartland to perform the work for which Plaintiff

originally contracted.




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          92.    Due to Heartland’s violations of CROA, Plaintiff is entitled to recover the greater

of her actual damages or the amounts she paid to Heartland. 15 U.S.C. § 1679g(a)(1).

          93.    Plaintiff is also entitled to recover uncapped punitive damages “as the court may

allow.” 15 U.S.C. § 1679g(a)(2)(A).

          94.    Plaintiff is also entitled to recover her attorneys’ fees and costs of suit. 15 U.S.C. §

1679g(a)(3).

                         COUNT 2 – BREACH OF FIDUCIARY DUTY

          95.    Plaintiff incorporates by reference all prior paragraphs as though set forth fully

herein.

          96.    Heartland, a law firm, expressly entered into an agreement by which it would

provide “legal services” to Plaintiff.

          97.    As such, Tennessee law requires that Heartland, among other things, deal with

Plaintiff in good faith and with the highest fidelity and, where a transaction with the client benefits

the attorney, give the client all the information and advice as would the attorney if the attorney had

no interest in the transaction and was advising the client as a neutral.

          98.    Tennessee law also forbids lawyers like Heartland from charging clients like

Plaintiff a fee that is “clearly excessive.”

          99.    Tennessee law also demands that attorneys ensure that their clients understand how

fees are to be calculated regardless of whether the contract is in writing.

          100.   Heartland met none of these requirements, as it duped Plaintiff into a contract that

paid Heartland exorbitantly for little or no results.

          101.   Heartland’s contract with Plaintiff committed Heartland to negotiate improved

terms for Plaintiff’s unsecured credit. Heartland did nothing on that score, taking monthly payment




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after monthly payment from Plaintiff’s bank account while achieving nothing regarding Plaintiff’s

unsecured debt.

          102.   Separately, and by way of different example, Plaintiff was never advised that the

contract purported to waive her right to attorneys’ fees should she sue Heartland pursuant to a fee-

shifting statute like CROA.

          103.   As a result of Heartland’s breach of its fiduciary duties, Plaintiff suffered actual

damages including, by way of example only, paying Heartland attorneys’ fees for work not

accomplished, paying attorneys’ fees that were not reasonable, and failure of Heartland to perform

the work for which Plaintiff originally contracted.

          104.   Plaintiff is entitled to recover these actual damages, as well as to have Heartland

disgorge to Plaintiff any money she has paid to Heartland as a result of its agreement with Plaintiff.

          105.   Plaintiff is also entitled to punitive damages because Heartland acted intentionally,

fraudulently, maliciously, or recklessly in convincing Plaintiff to enter into a contract with

Heartland.

                        COUNT 3 – PROFESSIONAL MALPRACTICE

          106.   Plaintiff incorporates by reference all prior paragraphs as though set forth fully

herein.

          107.   Heartland’s agreement with Plaintiff expressly provides for Heartland’s

commitment to “negotiate improved terms” on Plaintiff’s outstanding, unsecured debts.

          108.   Heartland failed to negotiate any improved terms on Plaintiff’s behalf. All

Heartland did was take money from Plaintiff’s bank account, month after month, with no change

to her unsecured debts.




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          109.   Heartland entered into an attorney-client relationship with Plaintiff. In the

agreement memorializing that relationship, Heartland took on multiple duties as to Plaintiff.

          110.   Heartland breached its duties to Plaintiff by doing nothing regarding her unsecured

debts.

          111.   Despite agreeing with Plaintiff to reduce the amount of her unsecured debts,

Heartland made no effort to do so.

          112.   This failure by Heartland fell below the standard of care that a reasonable attorney

would have devoted to Plaintiff’s debts and negotiating lower amounts.

          113.   Because Heartland fell below the standard of care, Plaintiff suffered injuries in the

form of legal fees paid to Heartland for no work being done or representation goals accomplished.

          114.   Heartland’s failure to meet its duties caused Plaintiff’s injuries.

          115.   Heartland’s breach of its duties was the legal and proximate cause of Plaintiff’s

injuries.

          116.   As a result of Heartland’s breach of its duties to Plaintiff, Plaintiff suffered actual

damages, including, by way of example only, paying Heartland attorneys’ fees for work not

accomplished, paying attorneys’ fees that were not reasonable, and failure of Heartland to perform

the work for which Plaintiff originally contracted.

          117.   Plaintiff is also entitled to punitive damages because Heartland acted intentionally,

fraudulently, maliciously, or recklessly in convincing Plaintiff to enter into a contract with

Heartland.

COUNT 4 – VIOLATIONS OF THE TENNESSEE CREDIT SERVICES BUSINESS ACT

          118.   Plaintiff incorporates by reference all prior paragraphs as though set forth fully

herein.




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       119.    Heartland promised that it would improve Plaintiff’s credit record, history, or rating

as it pertained to credit extended by others.

       120.    Heartland accepted payments from Plaintiff based on its promises to provide

services that would improve Plaintiff’s credit record, history, or rating as it pertained to credit

extended by others.

       121.    Heartland qualifies as a “credit services business” as that term is defined in

Tennessee Code § 47-18-1002(6)(A). None of the exclusions for the definition of “credit services

business” apply to Heartland. TENN. CODE ANN. § 47-18-1002(6)(B).

       122.    In its role as a credit services business, Heartland violated the Tennessee Credit

Services Business Act in at least the following ways:

               a. Charging or receiving any money or other valuable consideration prior to full

                   and complete performance of the services that the credit services business has

                   agreed to perform for or on behalf of the consumer, including all representations

                   made orally or in writing.

               b. Making or using any untrue or misleading representations in the offer or sale of

                   the services of a credit services business or engage, directly or indirectly, in any

                   act, practice, or course of business which operates or would operate as a fraud

                   or deception upon any person in connection with the offer or sale of the services

                   of a credit services business.

               c. Providing, in any manner, the services of a credit services business within

                   Tennessee, without registering a bond consistent with the provisions of

                   Tennessee Code § 47-18-1011.




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                 d. Engaging in any violation of the federal Consumer Credit Protection Act, in this

                    case the federal Credit Repair Organizations Act, as alleged herein.

          123.   Heartland committed such violations as set forth in the factual discussion in this

Complaint.

          124.   Heartland’s violations of the Tennessee Credit Services Business Act were willful,

as Heartland made representations regarding the services it would provide Plaintiff and then

provided none of those services.

          125.   Heartland’s violations were further willful in that it promised to reduce Plaintiff’s

credit score and credit liability, then it did not do so.

          126.   Heartland was aware of the representations it was making to Plaintiff and that it

would not meet those representations despite Plaintiff paying Heartland to do so.

          127.   Heartland’s willful violations of the Tennessee Credit Services Business Act entitle

Plaintiff to recover the greater of her actual damages or the amounts she paid Heartland. TENN.

CODE ANN. § 47-18-1008(a)(1).

          128.   Plaintiff is also entitled to recover “[s]uch amount of punitive damages as the court

may allow.” Id. § 47-18-1008(a)(2).

          129.   In the alternative, Heartland’s violations were negligent, entitling Plaintiff to

recover her actual damages. Id. § 47-18-1008(b).

          130.   Heartland’s violations of the Tennessee Credit Services Business Act also

constitute a violation of the Tennessee Consumer Protection Act. Id. § 47-18-1010.

  COUNT 5 – VIOLATIONS OF THE TENNESSEE CONSUMER PROTECTION ACT

          131.   Plaintiff incorporates by reference all prior paragraphs as though set forth fully

herein.




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       132.    Plaintiff entered into a consumer contract with Heartland for legal services in

Tennessee.

       133.    Heartland represented that its legal services would have certain characteristics,

including the negotiation of lower amounts of Plaintiff’s unsecured debt.

       134.    The Tennessee Consumer Protection Act prohibits deceptive practices in consumer

contracts such as those between Plaintiff and Heartland.

       135.    Specifically, Heartland violated the TCPA in its agreement with Plaintiff in that

Heartland:

               a. Represented to Plaintiff that Heartland’s services have sponsorship, approval,

                   characteristics, ingredients, uses, benefits or quantities that they do not have.

               b. Represented to Plaintiff that Heartland’s services are of a particular standard,

                   quality or grade, or that goods are of a particular style or model, if they are of

                   another.

TENN. CODE ANN. § 47-18-104.

       136.    Heartland’s representations to Plaintiff about its services caused Plaintiff to enter

into the agreement with Heartland.

       137.    As a result of Heartland’s deception, Plaintiff suffered actual damages including,

by way of example only, paying Heartland attorneys’ fees for work not accomplished, paying

attorneys’ fees that were not reasonable, and failure of Heartland to perform the work for which

Plaintiff originally contracted.

       138.    Heartland also incurred liability under the Tennessee Consumer Protection Act by

violating the Credit Services Business Act. Id. § 47-18-1010.

       139.    The TCPA entitles Plaintiff to recover her actual damages.




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       140.   Heartland’s conduct also entitles Plaintiff to treble damages because Heartland’s

conduct was willful or knowing.

       141.   The TCPA also entitles Plaintiff to recover her attorneys’ fees and costs incurred.

       WHEREFORE, Plaintiff requests that, after a trial on the merits, the Court enter an order:

              a. Finding Heartland engaged in the violations alleged herein;

              b. Awarding Plaintiff her actual damages as set forth herein;

              c. Awarding Plaintiff treble damages as set forth herein;

              d. Awarding Plaintiff punitive damages as the Court may allow;

              e. Awarding Plaintiff her reasonably incurred attorneys’ fees and costs incurred;

              f. Awarding Plaintiff all other relief, including equitable relief, as the Court deems

                  appropriate.

PLAINTIFF DEMANDS A TRIAL BY JURY

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